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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



VOTEVETS ACTION FUND,

           Plaintiff,

     v.                                 Case No. 18-1925 (TJK)

UNITED STATES DEPARTMENT
OF VETERANS AFFAIRS, et al.,

           Defendants.



      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
     DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                                       INTRODUCTION

       Confusing theoretical possibility with legal sufficiency, Plaintiff’s lawsuit is based on the

thoroughly discredited premise that the Federal Advisory Committee Act (“FACA”) applies to

“every formal and informal consultation between the President or an Executive agency and a group

rendering advice.” Public Citizen v. U.S. Dep’t of Justice, 491 U.S. 440, 453 (1989). Rejecting

that interpretation as one that would stifle much of the daily intercourse between the government

and the rest of the nation and raise “severe separation-of-powers problems,” In re Cheney, 406

F.3d 723, 728 (D.C. Cir. 2005), courts have long applied an exceedingly narrow interpretation of

what constitutes an “advisory committee” subject to FACA. FACA applies only to committees

established, managed, or controlled by the executive branch. Sofamor Danek Grp., Inc. v. Gaus,

61 F.3d 929, 936 (D.C. Cir. 1995). Moreover, the committee must have “an organized structure, a

fixed membership, and a specific purpose” and must “render [its] advice or recommendations, as

a group, and not as a collection of individuals.” Ass’n of Am. Physicians & Surgeons, Inc. v.

Clinton, 997 F.2d 898, 913 (D.C. Cir. 1993) (“AAPS”) (emphasis in original).

       After Plaintiff filed its original complaint against Defendants (collectively, the

“Department” or the “VA”) alleging that three associates of President Trump constitute an advisory

committee under FACA because they made recommendations to and asserted influence over the

Department, the Department filed a motion to dismiss arguing that VoteVets had not plausibly

alleged the existence of a FACA advisory committee under these standards. Plaintiff then amended

its complaint to add additional detail regarding a laundry list of VA endeavors drawn from nearly

a thousand pages of documents received in response to Freedom of Information Act (“FOIA”)

requests. But the amended complaint suffers from the same fatal deficiency as the original

complaint: VoteVets still does not allege that the three individuals it contends comprised a FACA



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committee were brought together by the VA; voted, reached consensus, or prepared a report on any

specific policy recommendation; took any formal action as a group; or were subject to management

or control by the VA. Rather, the FAC merely paints a picture of the three individuals voluntarily

providing ad hoc assistance to the Department on subject matter of their own choosing.

       While it is an agency’s job to make sure that its committees comply with FACA, that is

only so if the group at issue is, in fact, an advisory committee within the meaning of FACA.

Because the unstructured and informal correspondence alleged in the FAC does not give rise to an

advisory committee within the meaning of FACA, Plaintiff can demonstrate neither standing to

bring its claims nor a plausible claim to relief. Indeed, another member of this Court recently

dismissed similar allegations of a “de facto” FACA committee, brought by the same counsel

representing VoteVets here, for lack of jurisdiction after concluding that the plaintiff had not shown

the essential prerequisite of a FACA claim: the existence of an advisory committee subject to

FACA. See Food & Water Watch v. Trump (“FWW”), No. 17-1485-ESH, 2018 WL 6448634, at

*6-11 (D.D.C. Dec. 10, 2018). This case must be dismissed for the same reason.

                                         BACKGROUND

I.     Statutory Background

       A.      The Federal Advisory Committee Act

       Congress enacted FACA in 1972 to reduce the growing cost of unnecessary blue ribbon

commissions, advisory panels, and honorary boards set up by the government to advise the

President and federal agencies. See AAPS, 997 F.2d at 902-03. The statute seeks to eliminate

advisory committees that have outgrown their usefulness and impose uniform procedures on those

that are indispensable, thereby ensuring that Congress and the public remain apprised of their

existence, activities, and cost. Id. at 903 (citations omitted); see also 5 U.S.C. App. 2 § 2.



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        Groups that meet the definition of an “advisory committee” under FACA must comply with

an array of procedural requirements. Among others, they must file a charter prior to commencing

their first meeting, 5 U.S.C. app. 2 § 9(c); announce their upcoming meetings in the Federal

Register and hold those meetings open to the public unless an exception applies, id. § 10(a)(1)-(2);

keep detailed minutes of each meeting, id. § 10(c); and make their “records, reports, transcripts,

minutes, appendixes, working papers, drafts, studies, agenda, or other documents” available for

public viewing. Id. § 10(b). In addition, FACA requires that membership in each advisory

committee be “fairly balanced in terms of the points of view represented and the functions to be

performed by the advisory committee[.]” Id. § 5(b)(2).

        FACA defines an “advisory committee” as “any committee, board, commission, council,

conference, panel, task force, or other similar group . . . which is . . . established or utilized by the

President, or . . . by one or more agencies, in the interest of obtaining advice or recommendations

for the President or one or more agencies or officers of the Federal Government[.]” Id. § 3(2).

Courts have long recognized, however, that, interpreting this provision literally to apply to any

instance in which private parties participated or were influential in executive branch

decisionmaking “would effectively stifle much of the daily intercourse between the government

and the rest of the nation,” Nat. Res. Def. Council, Inc. v. Herrington, 637 F. Supp. 116, 119

(D.D.C. 1986), and create “severe separation-of-powers problems[.]” In re Cheney, 406 F.3d at

728; see also, e.g., FWW, 2018 WL 6448634 at *6 (“Given the serious separation-of-powers

concerns inherent in legislation that imposes requirements on executive decision-making, courts

interpret FACA narrowly.”). To avoid these problems, courts have read the definition of an

“advisory committee” under FACA to encompass only organizations that are “directly form[ed]”

by the government or a quasi-public organization or managed or controlled by agency officials.



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Judicial Watch, Inc. v. U.S. Dep’t of Commerce, 736 F. Supp. 2d 24, 32 (D.D.C. 2010) (citing Food

Chem. News v. Young, 900 F.2d 328, 332 (D.C. Cir. 1990); Wash. Legal Found. v. U.S. Sentencing

Comm’n, 17 F.3d 1446, 1451 (D.C. Cir. 1994); Animal Legal Def. Fund, Inc. v. Shalala, 104 F.3d

424, 431 (D.C. Cir. 1997)).

       FACA authorizes the General Services Administration (“GSA”) to promulgate

administrative guidelines applicable to federal advisory committees. 5 U.S.C. app. 2 §§ 3(1), 7(c).

GSA’s FACA-implementing regulations are entitled “Federal Advisory Committee Management”

and codified, as amended, at 41 C.F.R. part 102-3. “These regulations do not necessarily carry the

force of law, but they are at very least instructive because the GSA is ‘the agency responsible for

administering FACA[.]’” ACLU v. Trump, 266 F. Supp. 3d 133, 140 (D.D.C. 2017) (quoting Pub.

Citizen, 491 U.S. at 465 n.12).

       B.      The Administrative Procedure Act

       The Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701–706, establishes a waiver of

sovereign immunity and a cause of action for injunctive or declaratory relief for parties “suffering

legal wrong because of agency action, or adversely affected or aggrieved by agency action within

the meaning of a relevant statute[.]” Id. § 702; see also Heckler v. Chaney, 470 U.S. 821, 828

(1985). These provisions apply only to “[a]gency action made reviewable by statute and final

agency action for which there is no other adequate remedy in a court[.]” 5 U.S.C. § 704 (emphasis

added). The APA does not provide a cause of action for directly suing an advisory committee

because an “entity cannot be at once both an advisory committee and an agency[.]” Freedom

Watch, Inc. v. Obama, 807 F. Supp. 2d 28, 33 (D.D.C. 2011) (citations omitted).




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II.    This Lawsuit

       On August 16, 2018, Plaintiff VoteVets Action Fund (“Plaintiff” or “VoteVets”), a not-for-

profit organization engaged in advocacy regarding issues affecting veterans, filed this lawsuit

alleging that the Department violated FACA by soliciting advice and following recommendations

from three individuals—Ike Perlmutter, Dr. Bruce Moskowitz, and Marc Sherman (collectively,

the “Three Individuals”)—without complying with FACA’s procedural and disclosure

requirements. See generally Compl., ECF No. 1.

       After the Department moved to dismiss the original Complaint, ECF No. 8, VoteVets filed

a First Amended Complaint (“FAC”) on December 6, 2018. ECF No. 10. Like the original

Complaint, the FAC claims that the Three Individuals are each members of President Trump’s

social club, Mar-a-Lago in Palm Beach, Florida, and that they constitute a FACA committee

because they offered advice to the Department with a collective objective to “‘improve the quality

of care for our veterans for the long term.’” FAC ¶¶ 2, 74(e); see also id. ¶¶ 4-7. The FAC, and

the documents incorporated by reference in the FAC, generally paint a picture of the Three

Individuals individually opining on healthcare delivery and technological challenges facing the

VA, sharing those thoughts with the VA, and facilitating introductions to healthcare and technology

experts from the private sector that had volunteered to assist the VA in addressing those problems.

See, e.g., FAC ¶¶ 32, 36, 45-72. For example, VoteVets asserts that, in December 2016, before

President Trump was inaugurated, the Three Individuals “convened a council of healthcare

executives to meet with President-elect Trump” and “brainstorm[] on how to improve and reform”

the Department. FAC ¶ 36(a). VoteVets further alleges that, after President Trump took office, the

Three Individuals participated in telephone calls, emails, and miscellaneous meetings with

Department officials or pertaining to Department affairs, such as a tour of a VA hospital, phone



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calls with private sector representatives about a range of topics, and calls with the contracting team

responsible for implementing a project to reform the VA’s digital records system. FAC ¶¶ 36, 45-

72. During this time, the Three Individuals are alleged to have provided advice regarding, among

other things, the possible development of a mobile “app” for veterans, a proposal to use private

medical experts to evaluate the VA’s surgery programs, the nomination and firing of former-

Secretary David Shulkin, a possible campaign to raise awareness regarding veteran suicide, a

summit on medical device registries, potential efforts to track human tissue devices, and a mental

health initiative. FAC ¶¶ 36, 43-73.

        VoteVets asserts that the involvement of the Three Individuals in these activities was

improper because it occurred “without being subjected to [FACA’s] transparency requirements[.]”

FAC ¶ 1.     VoteVets seeks, among other requested relief, an order “enjoin[ing] the [Three

Individuals] from meeting, advising Defendants, and otherwise conducting [their] business unless

and until” their meetings and records are opened to the public and other FACA requirements are

followed. See FAC at Prayer for Relief ¶¶ 3, 4-8.

                                   STANDARDS OF REVIEW

        A motion to dismiss under Federal Rule of Civil Procedure 12(b)(1) challenges a federal

court’s jurisdiction over the subject matter of the complaint. The plaintiff bears the burden of

establishing that the court has the requisite subject matter jurisdiction to grant the relief requested.

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). In deciding whether that

burden has been met at the pleading stage, a court generally may presume the truth of any well-

pled factual allegations in the complaint but need not and should not accept “‘naked assertions

devoid of further factual enhancement.’” Historic E. Pequots v. Salazar, 934 F. Supp. 2d 272, 276

(D.D.C. 2013) (citation omitted). A plaintiff’s allegations of jurisdiction should be closely



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scrutinized because a court has “an affirmative obligation to ensure that it is acting within the scope

of its jurisdictional authority.” Grand Lodge of Fraternal Order of Police v. Ashcroft, 185 F. Supp.

2d 9, 13 (D.D.C. 2001) (citation omitted).

        A motion to dismiss under Fed. R. Civ. P. 12(b)(6) tests the legal sufficiency of the

complaint. Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). The “complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). This standard is not met by “labels and conclusions,” Twombly, 550 U.S. at 555; rather,

a plaintiff must plead specific “factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.’” Abdelfattah v. U.S. Dep’t of

Homeland Sec., 787 F.3d 524, 533 (D.C. Cir. 2015) (quoting Iqbal, 556 U.S. at 678). In deciding

the motion, a court generally must accept the well-pled factual allegations as true and any

reasonable inferences drawn from those allegations but not inferences that are “‘unsupported by

the facts set out in the complaint’” or “‘legal conclusions cast in the form of factual allegations.’”

Browning, 292 F.3d at 242 (citations omitted). The court may independently consider any

materials incorporated by reference in the complaint that are integral to the plaintiff’s claims. See

Kaempe v. Myers, 367 F.3d 958, 965 (D.C. Cir. 2004); see also 5A The Late Charles Alan Wright

et al., Federal Practice and Procedure § 1327 (3d ed.) (“The district court obviously is not bound

to accept the pleader’s allegations as to the effect of [incorporated materials], but can

independently examine the document[s] and form its own conclusions[.]”).

                                            ARGUMENT

I.      The FAC Should Be Dismissed Under Rule 12(b)(1) for Lack of Standing.

        A showing of standing is a “threshold question in every federal case.” Warth v. Seldin, 422

U.S. 490, 498 (1975). The “irreducible constitutional minimum” of standing requires a plaintiff

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to demonstrate an injury-in-fact that is: (1) concrete and particularized, and actual or imminent,

not conjectural or hypothetical, (2) fairly traceable to the challenged conduct of the defendant, and

(3) likely to be redressed by a favorable judicial decision. Lujan v. Defs. of Wildlife, 504 U.S. 555,

560-61 (1992) (citations omitted). At the pleading stage, “the plaintiff must ‘clearly . . . allege

facts demonstrating’ each element.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citing

Warth, 422 U.S. at 518).

       An organizational plaintiff may satisfy these elements either through its own organizational

injury or, under the doctrine of associational standing, by showing that at least one of its members

satisfies the injury-in-fact, causation, and redressability requirements. Nat’l Ass’n of Home

Builders v. EPA., 786 F.3d 34, 40 (D.C. Cir. 2015). However, to invoke associational standing, a

plaintiff “bear[s] the burden of specifically identifying at least one ‘member [who] had or would

suffer harm’ from each challenged agency action.” Sec. Indus. & Fin. Markets Ass’n v. U.S.

Commodity Futures Trading Comm’n, 67 F. Supp. 3d 373, 400 (D.D.C. 2014) (citation omitted).

VoteVets has not done so and thus appears to assert standing only on its own behalf.

       A.       VoteVets Fails to Identify an Organizational Injury.

       The D.C. Circuit has explained that an organizational plaintiff asserting standing on its own

behalf must demonstrate, first, a concrete injury to its interests, and second, that it used its

resources to counteract that injury. See, e.g., Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905,

919 (D.C. Cir. 2015) (citation omitted). To satisfy the first element of this standard, an organization

cannot rely on “‘a mere setback to [its] abstract social interests’” but rather must allege a “‘concrete

and demonstrable injury to [its] activities[.]’” People for the Ethical Treatment of Animals v. U.S.

Dep’t of Agric., 797 F.3d 1087, 1093 (D.C. Cir. 2015) (emphasis added, citations and quotation

marks omitted). Stated otherwise, the organization may not rest on an alleged impairment of its



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policy goals but must show that the defendant’s actions demonstrably harmed its “daily

operations” or its “ability to provide services.” Food & Water Watch, 808 F.3d at 919 (citations

and internal quotation marks omitted); see also Turlock Irrigation Dist. v. FERC, 786 F.3d 18, 24

(D.C. Cir. 2015) (“[A]n organization must allege that the defendant’s conduct ‘perceptibly

impaired’ [its] ability to provide services[.]”); Envtl. Working Grp. v. FDA, 301 F. Supp. 3d 165,

171 & n.4 (D.D.C. 2018) (organization must establish “‘inhibition of [its] daily operations” or

“ongoing work”).

       VoteVets’ allegations are wholly insufficient to meet this standard. With respect to the first

requirement—concrete injury to organizational interests—VoteVets states only that it “has a

distinct interest in the Administration’s policies towards veterans” and, in particular, expends

resources advocating on behalf of its “belie[f] [that] the VA healthcare system should not, and must

not, be privatized.” FAC ¶¶ 77-78. These allegations merely describe VoteVets’ issue advocacy

on the subject of privatization; they do not demonstrate, or even suggest, that VoteVets’

organizational activities are impaired because the Three Individuals offered advice to the

Department without complying with FACA’s procedural requirements. See Food & Water Watch,

808 F.3d at 919 (“an organization’s use of resources for . . . advocacy is not sufficient to give rise

to an Article III injury” (citations omitted)). Indeed, this would be true even if VoteVets disagreed

with a specific policy recommendation offered by the Three Individuals and adopted by the

Department, which VoteVets has not alleged. See, e.g., New England Anti-Vivisection Soc’y v. U.S.

Fish and Wildlife Serv., 208 F. Supp. 3d 142, 166 (D.D.C. 2016) (“complaining that the

organization’s ultimate goal has been made more difficult is not sufficient” (citation omitted)).

       VoteVets also has not demonstrated that it has expended resources to counteract any

specific organizational harm resulting from the alleged FACA violations. Although it alleges that



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it submitted a FOIA request for records regarding the role of “private individuals and pro-

privatization advocacy groups . . . in influencing the Administration’s VA healthcare policy[,]”

FAC ¶ 77, this request appears to be simply another component of VoteVets’ anti-privatization

advocacy. There is nothing to suggest that the request was made to counteract any impairment to

VoteVets’ activities resulting from the specific activities of the Three Individuals or that, if the

Three Individuals had opened their records and meetings to the public, VoteVets would not have

made the request anyway. Indeed, the ProPublica article on which VoteVets relies for many of its

factual allegations and incorporates by reference in the FAC (the “ProPublica Article”) notes that

“more private healthcare to vets was a signature promise of Trump’s campaign” long before he

“decided who should lead [that] effort.” Ex. A at 4. Thus, VoteVets would presumably be seeking

documents regarding the privatization efforts of the Department regardless of the activities of the

Three Individuals. See Cmty. Fin. Servs. Ass’n of Am., Ltd. v. Fed. Deposit Ins. Corp., No. 14-CV-

953 (GK), 2016 WL 7376847, at *11 (D.D.C. Dec. 19, 2016) (“an organization does not suffer an

injury in fact . . . unless [the agency’s action] subjects the organization to operational costs beyond

those normally expended” (emphasis added, citing Food & Water Watch, 808 F.3d at 920)).

VoteVets therefore has demonstrated neither a concrete injury resulting from the FACA violations

it alleges, nor that it expended resources to counteract any such injury, as is required to make out

a claim of organizational standing in this Circuit.

       B.      VoteVets’ Assertions of Procedural Violations Do Not Relieve It of the
               Requirement to Demonstrate a Concrete Injury.

       The standing analysis is not different simply because VoteVets has asserted a violation of

procedural rights under FACA. See FAC ¶ 79 (alleging denial of VoteVets’ purported “statutory

right to review the Mar-a-Lago Council’s documents and meeting minutes” and “participate in the

Mar-a-Lago Council’s meetings”). The D.C. Circuit has made clear that alleged procedural

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injuries do not themselves suffice for standing; rather, a plaintiff must demonstrate that the

procedural violation “has resulted in an invasion of [the organization’s] concrete and particularized

interest.” Ctr. for Law & Educ. v. Dep’t of Educ., 396 F.3d 1152, 1159 (D.C. Cir. 2005); see also

Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009) (“deprivation of a procedural right without

some concrete interest that is affected by the deprivation—a procedural right in vacuo—is

insufficient to create Article III standing”). The D.C. Circuit recently applied this principle in a

FACA case to hold that the plaintiff lacked standing to challenge the composition of a FACA

committee because it failed to identify a “distinct risk to a particularized interest” resulting from

the alleged FACA violation. R.J. Reynolds Tobacco Co. v. U.S. Food & Drug Admin., 810 F.3d

827, 829 (D.C. Cir. 2016) (citation and quotation marks omitted). The D.C. Circuit noted that

although the advisory committee had submitted a report to the agency, the agency had not yet taken

final action based on that report; therefore, the “appointment of the challenged [FACA] committee

members by no means rendered the risk of eventual adverse [agency] action substantially probable

or imminent.” Id. at 830.

       This holding applies with even greater force to VoteVets’ claims because VoteVets fails to

identify any specific policy that was even formally proposed, much less adopted, by the

Department based on the advice or recommendations of the Three Individuals. While VoteVets

points to brainstorming and other preliminary efforts in which the Three Individuals were involved,

such as calls with Johnson & Johnson regarding a public awareness campaign about veteran

suicide, discussions concerning a possible mental health initiative, calls with Apple executives and

healthcare experts about a mobile app for veterans, review of a proposed contract with Cerner to

transform the VA’s digital records system, and conversations with the American College of

Surgeons (“ACS”) about evaluating VA surgery programs, it alleges no facts suggesting that these



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discussions ever ripened into specific proposals for agency action. See FAC ¶¶ 36(q), 36 (v),

36(ee), 45, 46-60, 64-67, 70, 72.1 Indeed, the ProPublica Article states that the Department

demurred on a proposal by Mr. Perlmutter to use private industry groups to evaluate healthcare

delivery, “saying the VA was already developing an in-house method of comparing its services to

the private sector,” and “clashed” with the Three Individuals “over how to improve the VA’s

electronic record-keeping software.” Ex. A at 9. ProPublica also reports that discussions with

ACS “stalled after [then-Secretary] Shulkin was fired,” id. at 6, and that the “VA finally killed the

[mobile application] project because Moskowitz was the only one who supported it.” Id. at 7.

VoteVets cannot stake a claim of Article III injury based on informal input regarding nascent

proposals that never developed into specific departmental action. RJ Reynolds, 810 F.3d at 829-

31; Metcalf v. Nat’l Petroleum Council, 553 F.2d 176, 184 (D.C. Cir. 1977) (holding that plaintiff

lacked standing to challenge composition of FACA committee where, among other things, there

was “no allegation that [the agency] took action based on” a committee recommendation).2

       C.      VoteVets Cannot Rely on Informational Injury Where It Has Not Plausibly
               Alleged the Existence of a FACA Committee.

       VoteVets also does not state a claim of “informational standing.” To establish such a theory,

a plaintiff must show that “(1) it has been deprived of information that, on its interpretation, a



1
  In fact, although preliminary discussions regarding mental health did not produce specific agency
action, a FACA advisory committee on mental health was subsequently formed to assist the VA.
The Three Individuals are not members of that committee. See VA Advisory Committee
Management Office, Creating Options for Veterans’ Expedited Recovery (COVER) Commission,
https://www.va.gov/ADVISORY/Creating_Options_for_Veterans_Expedited_Recovery_COVER
_Commission_Statutory.asp; see also Ex. A at 11.
2
  VoteVets does allege that the Three Individuals were instrumental in the nomination and
subsequent “firing” of former-Secretary David Shulkin, FAC ¶¶ 43, 73, but such actions were those
of the President, not the Department. Moreover, VoteVets has not alleged that either the initial
nomination of former Secretary Shulkin or his subsequent firing advanced any privatization
initiative to the detriment of VoteVets.

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statute requires the government or a third party to disclose to it, and (2) it suffers, by being denied

access to that information, the type of harm Congress sought to prevent by requiring disclosure.”

Friends of Animals v. Jewell, 828 F.3d 989, 992 (D.C. Cir. 2016) (citation omitted). A plaintiff

asserting such a theory in a FACA case must demonstrate that it “has specifically requested, and

been refused” the information that it seeks through its lawsuit. Public Citizen, 491 U.S. at 449;

see also id. at 449-50 (noting that other citizens might make the same complaint “after

unsuccessfully demanding disclosure under FACA” (emphasis added)); Friends of Animals, 828

F.3d at 992 (plaintiff must show that it “seeks and is denied specific agency records’” (emphasis

added; citation, brackets, and quotation marks omitted)).         VoteVets satisfies none of these

requirements.

       As a threshold matter, VoteVets does not claim that it “requested and [was] refused” any

specific information to which it claims an entitlement under FACA. Public Citizen, 491 U.S. at

449 (emphasis added). After the Department moved to dismiss the original Complaint, VoteVets

sent a letter requesting that the VA disclose the documents it purports to seek in this lawsuit. See

Ex. C (Nov. 27, 2018 letter requesting disclosure of materials “‘made available to or prepared for

or by’” the Three Individuals). But the FAC states only that “[t]he VA has not responded to

VoteVets’s request[,]” FAC ¶ 77, which is not surprising given that the request was made just over

a week before VoteVets filed its FAC. Even under its own legal theory, VoteVets cannot adequately

allege an informational injury where the VA has not actually denied its request.

       In any event, VoteVets has not plausibly alleged that it was deprived of information that

FACA required the Department to disclose. Although a court must generally assume that a

plaintiff’s “view of the law wins the day” for purposes of informational standing, Lawyers’ Comm.

for Civil Rights Under Law v. Presidential Advisory Comm’n on Election Integrity, 265 F. Supp.



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3d 54, 65 (D.D.C. 2017), the plausibility requirements of Twombly and Iqbal continue to apply.

Thus, in Friends of Animals, the D.C. Circuit did not adopt the plaintiff’s implausible legal theory

but instead held that the plaintiff lacked informational standing because, under the statutory

framework at issue, no disclosure obligation was then in effect. 828 F.3d at 992-94. Rather, the

prerequisite steps necessary to trigger a disclosure obligation under the applicable statute had not

yet occurred. Id. Similarly here, FACA does not impose any disclosure requirements unless and

until a FACA “advisory committee” comes into existence. See 5 U.S.C. app. 2 § 10(b); see also

FWW, 2018 WL 6448634, at *11 n.6 (“Because the Court has concluded that the [alleged]

Infrastructure Council was not a de facto FACA committee, plaintiff does not have informational

standing to bring these claims.”). As discussed in Section II infra, VoteVets fails to plausibly allege

the existence of such a committee, and therefore it may not invoke informational standing.

       D.      VoteVets Has Not Shown Causation or Redressability.

       VoteVets also has not satisfied the second and third prongs of standing. Any injury that

VoteVets might identify cannot be deemed fairly traceable to the Department when the FAC

provides no factual support to suggest that a “Mar-a-Lago Council” ever existed within the

meaning of FACA. And any alleged “injury” is not redressable because the Court cannot enjoin

the behavior of private individuals that are not subject to management or control by the

Department, are not parties to this case, and are not obligated to open their private records and

meetings to the public. See generally FAC at Prayer for Relief.

       For the foregoing reasons, VoteVets fails to establish Article III standing to bring this case.

II.    The FAC Should Be Dismissed Under Rule 12(b)(6) for Failure to State a Violation of
       FACA.

       The FAC also should be dismissed because it fails plausibly to allege the existence of an

advisory committee subject to FACA. Contrary to Plaintiff’s suggestion, the requirements of


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FACA do not apply to any group that offers advice to or influences a federal agency. Rather, they

apply only to advisory committees “established” or “utilized” by an agency or the President. 5

U.S.C. app. 2 § 3(2). In Public Citizen, the Supreme Court observed that “[r]ead unqualifiedly,”

FACA “would extend . . . to any group of two or more persons, or at least any formal organization,

from which the President or an Executive agency seeks advice[,]” 491 U.S. at 452, a result the

Supreme Court determined was “absurd” and possibly unconstitutional. Id. at 454-67. Thus, the

Court “squarely rejected an expansive interpretation of the [statute],” and instead interpreted the

terms “‘established’ and ‘utilized’ narrowly to prevent FACA from sweeping more broadly than

the Congress intended.” Byrd v. EPA, 174 F.3d 239, 245 (D.C. Cir. 1999) (citing Public Citizen,

491 U.S. at 452; Animal Legal Defense Fund v. Shalala, 104 F.3d 424, 427 (D.C. Cir. 1997)). The

FAC fails as a matter of law because it presses the interpretation “squarely rejected” in Public

Citizen and in legions of cases since.

       A.      The FAC Does Not Plausibly Allege that Defendants “Established” a FACA
               Committee Consisting of the Three Individuals.

       “[A]n advisory panel is ‘established’ by an agency only if it is actually formed by the

agency[.]” Byrd, 174 F.3d at 245 (citation omitted); accord Physicians Comm. for Responsible

Med. v. Horinko, 285 F. Supp. 2d 430, 445 (S.D.N.Y. 2003) (“Physicians Comm.”) (citing cases).

This requirement means what it says: communications and collaboration between an agency and a

group is not enough to find that an agency “actually formed” an advisory committee. See

Physicians Comm., 285 F. Supp. 2d at 445 (being informed of efforts and attending group meetings

is insufficient; agency must be the “driving force behind” the group and “exert[] control over who

attend[s] and what [is] discussed”). Thus, a FACA committee does not come into existence simply

because certain individuals meet with “a changing slate of federal officials and private sector

groups” for the “purpose of exchanging views on a variety of subjects.” AAPS, 997 F.2d at 914

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(citing Nader v. Baroody, 396 F. Supp. 1231 (D.D.C. 1975)).           Nor is a FACA committee

“established” by an agency simply because private individuals attend meetings with federal

officials on a specified topic. See Aluminum Co. of Am. v. Nat’l Marine Fisheries Serv., 92 F.3d

902, 906 (9th Cir. 1996) (“Alcoa”) (holding that a series of meetings attended by a variety of

stakeholders, including federal officials, regarding how an agency should comply with a court’s

ruling was not an advisory committee “established” by the government). Rather, “[i]n order to

implicate FACA, the President, or his subordinates, must create an advisory group that has, in

large measure, an organized structure, a fixed membership, and a specific purpose.” AAPS, 997

F.2d at 914 (emphasis added). And because “an important factor in determining the presence of

an advisory committee [is] the formality and structure of the group[,]” the D.C. Circuit has

observed that “it is a rare case when a court holds that a particular group is a FACA advisory

committee over the objection of the executive branch.” Id.; see also FWW, 2018 WL 6448634, at

*6 (noting the difficulty in making out “a de facto advisory committee” and that “it is far more

often that the government prevails in such cases” (citing cases)).

       The FAC fails to plead any specific facts indicating that a committee consisting of the Three

Individuals was “actually formed” by the Department. Byrd, 174 F.3d at 245. Instead, in the single

paragraph related to the formation of the purported “Mar-a-Lago-Council” in an otherwise lengthy

complaint, the FAC uses the passive voice, alleging that “[i]n January 2017, the Mar-a-Lago

Council was created to advise the VA on policy issues affecting veterans and the administration of

the Department[.]” FAC ¶ 28; see also id. ¶ 81 (pleading in conclusory terms that the Three

Individuals operated as “an advisory committee within the meaning of the FACA because [they

are] a ‘council . . . established or utilized by’ Defendant the VA”). Such conclusory assertions,

bereft of any detail as to how the alleged creation of a FACA committee came to pass, plainly do



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not satisfy VoteVets’ burden to allege facts plausibly demonstrating that the Department

established the Three Individuals as a FACA committee. See Iqbal, 556 U.S. at 678 (“‘naked

assertion[s]’ devoid of ‘further factual enhancement’” are insufficient); Washington Toxics Coal.,

357 F. Supp. 2d at 1273 (rejecting allegation that task force was “established” by an agency where

plaintiffs failed to “allege[] facts or point[] to evidence to substantiate their conclusory

allegation”).

       Instead of pleading facts to support its contention that the Department established a “Mar-

a-Lago Council,” VoteVets includes footnotes to two news articles, suggesting that the support for

its assertions lies there. FAC ¶¶ 28-29 & n.7 & 9. But even if it were proper for VoteVets to

support a conclusory allegation with unadorned citations to outside materials, neither of the cited

articles plausibly suggests that the Department established a “Mar-a-Lago Council.” The first, a

CNBC transcript of a news conference on January 11, 2017, FAC ¶ 28 n.7, simply contains a

transcript of a press conference given by then-President-elect Trump in which he stated that

“[w]e’re going to be talking to a few people . . . to help” with veterans affairs and “we’re going to

set up a group” of “some of the great hospitals of the world . . . like the Cleveland Clinic [and] the

Mayo Clinic,” along with “their great doctors” and that “Ike Perlmutter has been very, very

involved[.]” Ex. B at 3-4. The transcript does not so much as mention Mr. Sherman or Dr.

Moskowitz, nor does it specify what Mr. Perlmutter was “very, very involved” in or how.

Moreover, it does not say anything about the Department soliciting Mr. Perlmutter to help with

veterans’ affairs, which is not surprising given that these comments were made before the President

and his appointees were even sworn into office. VoteVets brings this case against the Department,

and therefore it must show that the Department, not the President-elect, “established or utilized”

the Mar-a-Lago Council. See FAC ¶ 81.



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       In addition, merely soliciting private sector viewpoints—even in a group format—does not

give rise to a FACA committee. Instead, to implicate FACA, a committee must have an “organized

structure, a fixed membership, and a specific purpose,” and be assembled by the government to

render advice “as a group, and not as a collection of individuals.” AAPS, 997 F.2d at 913-14

(emphasis in original); accord In re Cheney, 406 F.3d at 730 (holding that groups were not subject

to FACA where their meetings did not involve “deliberations or any effort to achieve consensus

on advice or recommendations” but “were simply forums to collect individual views”); Freedom

Watch, Inc. v. Obama, 930 F. Supp. 2d 98, 101 (D.D.C. 2013) (noting that “where the President or

an agency seeks to provide a mechanism and sounding board to test the pulse of the country by

conferring directly or indirectly with widely disparate special interest groups and encourage an

exchange of views, the resulting meetings are not subjected to the requirements of the FACA”

(citation, quotation marks, ellipses and brackets omitted), aff’d, 559 F. App’x 1 (D.C. Cir. 2014);

see also 41 C.F.R. § 102-3.40(e) (a group “assembled to provide individual advice” is not a

committee subject to FACA). Thus, while the President-elect’s statement may indicate that he

asked one of the Three Individuals—Mr. Perlmutter—to advise on certain unspecified matters

along with private hospitals and doctors, it hardly demonstrates that the Department convened Mr.

Perlmutter, Mr. Sherman, and Dr. Moskowitz to achieve consensus on any specific policy matter,

as is VoteVets’ burden to allege.

       The second news report relied upon by VoteVets, the ProPublica Article, also does not

suggest that the Department ever “actually formed” a FACA committee; indeed, it refutes that

proposition. The article states that “[w]hen Trump asked . . . for help putting a government

together, Perlmutter offered to be an outside adviser,” and thereafter “Perlmutter enlisted the

assistance of his friends Sherman and Moskowitz.” Ex. A at 4 (emphasis added). This is also



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consistent with the “Statement by Ike Perlmutter, Bruce Moskowitz and Marc Sherman” that is

reprinted at pages 40-41 of the FAC, in which the Three Individuals explained that “[w]e offered

our counsel . . . to assist the President, Secretary and VA leadership . . . .” (emphasis added). Under

binding Circuit law, a group is not a FACA committee if it is brought together by one or more

private parties. That is true even if the executive branch is indirectly responsible for the group’s

formation. See, e.g., Byrd, 174 F.3d at 246-47 (expert panel was not “established” by agency where

federal contractor selected its members pursuant to federal contract, even though agency retained

veto power over the panel’s membership and set its agenda); Food Chem. News v. Young, 900 F.2d

328, 333 (D.C. Cir. 1990) (agency did not “establish” panel where private party selected its

members, set its agenda, and scheduled its meetings); Judicial Watch, 736 F. Supp. 2d at 33

(dismissing FACA claim because “the plaintiff does not allege that the DOC or any other U.S.

government agency selects the U.S. representatives to the” alleged FACA committee); People for

Ethical Treatment of Animals, Inc. v. Barshefsky, 925 F. Supp. 844, 848 (D.D.C. 1996) (working

group was not “established” by agency where, among other things, outside entities named

representatives to the group); see also 41 C.F.R. § 102-3.40(d) (a group is not subject to FACA if

it is “created by non-Federal entities”). Thus, if Mr. Perlmutter enlisted the participation of Mr.

Sherman and Dr. Moskowitz, as ProPublica states—or if the three men came together of their own

accord as the statement in the FAC suggests—that is enough to demonstrate that the Department

did not “establish” the group within the meaning of FACA.3

       Nor do the remainder of the allegations in the FAC show that the Department established

the alleged advisory committee. Those allegations merely recite a laundry list of emails, phone



3
 The FAC further underscores the privately-initiated nature of the association by noting that when
Mr. Sherman undertook discussions with ACS about evaluating VA surgery programs, it was Mr.
Sherman, not the VA, that chose to “includ[e] [his] gang as a cc” on those emails. FAC ¶ 70.
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calls, and meetings between one or more of the Three Individuals, private sector representatives,

and/or Department officials and conclude that, because some of these discussions in fact

“influenced” the Department, the Three Individuals acted as a “council” subject to FACA. See

FAC ¶¶ 1, 2, 4-7, 9, 36, 39-73. Not only does this lack the requisite action by the Department, the

“more than 25 meetings” cited in the FAC plainly were not formal meetings designed to produce

consensus among the Three Individuals on any specific policy matter; rather, they were informal

encounters consisting largely of brainstorming sessions about general initiatives that might be

explored, introductions to persons with knowledge or expertise pertaining to those initiatives, and

preparations for preliminary information-gathering calls.                   They include, for example, a

brainstorming session with healthcare executives before President Trump was inaugurated, FAC

¶ 36(a); calls and emails in preparation for a June 14, 2017 call with Apple and various healthcare

experts regarding the possible development of a mobile app for veterans, FAC ¶¶ 36(h), 36(p),

36(r), 36(v), 46-60; a meeting to review an agenda for an upcoming meeting between the Secretary

and President Trump, id. ¶ 36(i); a handful of one-on-one meals between the Secretary and one of

the Three Individuals, id. ¶¶ 36(m), 36(n), 36(u), 36(y); a tour of a VA hospital, id. ¶ 36(o);

correspondence between Dr. Moskowitz and VA officials pertaining to the Cerner contract, id.

¶¶ 36(aa), 36(bb), 36(ii), 64-67; and exploratory calls with a range of private sector representatives

regarding such various and largely unrelated topics as veteran suicide, evaluation of VA surgery

programs, tracking of human tissue devices, and mental health.                      FAC ¶¶ 45, 70, 71, 72.

Furthermore, although the allegations in the FAC attribute each of these actions to the alleged

“Council,” the documents on which they are based demonstrate that a majority of the

correspondence involved only one or two of the Three Individuals, see, e.g., FAC ¶¶ 36(d), (e), (i),

(j), (m), (q), (r), (s), (t), (u), (y), (z), (aa), (bb), (cc), (ee), (ff), (gg), (ii) (and materials cited therein),



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and none involved the Three Individuals attempting to reach consensus among themselves. See

generally FAC.

       The FAC therefore suggests nothing more than that the Department received preliminary

input regarding a variety of matters from numerous individuals and groups that sometimes

included one or more of the Three Individuals. Such allegations are insufficient to suggest the

formation of a FACA committee as a matter of law. See FWW, 2018 WL 6448634, at *7-8

(rejecting similar claims of a “de facto” FACA committee where there was no indication that

preliminary discussions among group members ever matured into formal policy discussions “for

the purpose of making group recommendations to the executive” and noting that many of the

alleged “‘meetings’ were not meetings at all but simply email exchanges or phone calls, which

apparently did not take place according to a regular schedule” and were “informal exchanges,

arranged on an ad-hoc basis, often including only one or two of the purported council members or

their staffs”); Nader, 396 F. Supp. at 1234 (meeting between government officials and private

groups for the purpose of exchanging views did not constitute an advisory committee because the

groups “were not formally organized” and there was “little or no continuity” among participants

and subject matter); Huron Envt’l Activist League v. EPA, 917 F. Supp. 34, 42 (D.D.C. 1996)

(rejecting FACA challenge where group had “neither a fixed membership” nor a “specific purpose”

and “simply d[id] not have the requisite formality and structure of an advisory committee”).

       For all of these reasons, VoteVets has not plausibly alleged that the Department

“established” a “Mar-a-Lago Council” subject to FACA.

       B.      The FAC Does Not Plausibly Allege that Defendants “Utilized” the Three
               Individuals as a FACA Committee.

       An entity that is not “established” by the government may only be an advisory committee

subject to FACA if it is “utilized” by the government within the meaning of the statute. 5 U.S.C.

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app. 2 § 3(2). Yet as with the word “established,” the Supreme Court and the D.C. Circuit have

given an extremely narrow and specific interpretation to the word “utilize.” In Public Citizen,

after examining FACA’s legislative history, the Supreme Court concluded that the phrase “or

utilized” was added to FACA’s definition of “advisory committee” “simply to clarify that FACA

applies to advisory committees established by the Federal Government in a generous sense of that

term, encompassing groups formed indirectly by quasi-public organizations . . . ‘for’ public

agencies as well as ‘by’ such agencies themselves.” 491 U.S. at 462 (emphasis added). The Court

therefore rejected the argument that an agency “utilizes” a committee within the meaning of FACA

if it “makes use of” the group’s work product. Id. at 452, 462-64. Instead, the Court looked to

whether the committee was “amenable to the strict management by agency officials” and

concluded that an entity formed privately “cannot easily be said to have been ‘utilized by a

department or agency in the same manner as a Government-formed advisory committee.’” Id. at

457-58 (emphasis added, citation omitted).

       Following Public Citizen, courts have repeatedly reaffirmed that the term “utilized” means

more than simply “used.” See, e.g., Wash. Legal Foundation, 17 F.3d at 1450 (holding that

“utilized” requires a showing that federal officials exercised “actual management or control of the

advisory committee”—a “stringent standard”); Food Chem. News, 900 F.2d at 332-33 (holding

that “utilized” refers to a group “so closely tied to an agency as to be amenable to ‘strict

management by agency officials’” (citation and quotation marks omitted)); Alcoa, 92 F.3d at 906

(concluding that groups were not “utilized” within meaning of FACA because they were not

“subject to the management, much less strict management, of federal agency officials”); see also

41 C.F.R. § 102-3.25 (a committee is “utilized” under FACA only “when the President or a Federal

office or agency exercises actual management or control over its operation”). Thus, to demonstrate



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that the Department “utilized” the Three Individuals as a FACA committee, VoteVets must allege

facts showing that the Department exercised “actual management or control” over them. Wash.

Legal Foundation, 17 F.3d at 1450.

       The sole factual allegation in the FAC even marginally relevant to this requirement is in

paragraph 56, where VoteVets cites an email in which VA official Darin Selnick reminded Dr.

Moskowitz that Mr. Selnick possessed “‘the VA responsibility to provide the overall responsibility

to manage and provide oversight for the VA/Apple/Ce[r]ner partnership.’” However, read in

context, it is clear that this email merely clarified that Mr. Selnick was a person with management

responsibility within the VA on any possible partnership with Apple and therefore needed to be

copied on communications pertaining to that potential partnership. See FAC ¶ 56 & n.93 (and

email cited therein). Nothing in the email suggests that Mr. Selnick believed himself or the VA to

possess management and control over the Three Individuals; indeed, Mr. Sherman and Mr.

Perlmutter were not even involved in the discussion at issue.4

       The remaining allegations in the FAC are similarly insufficient to suggest that the

Department “utilized” the Three Individuals as a FACA committee. While VoteVets asserts that

the Department participated in various calls and meetings with the Three Individuals and

sometimes adopted their “advice and recommendations,” those facts do not show that the

Department managed or controlled the Three Individuals. See, e.g., Byrd, 174 F.3d at 246

(“participation by an agency . . . does not qualify as management and control” (citing Wash. Legal

Found., 17 F.3d at 1451)); Physicians Comm., 285 F. Supp. 2d at 446 (rejecting FACA claims



4
 The discussion continues at pages 255 and 258 of the cited FOIA materials, where Dr. Moskowitz
construes Mr. Selnick’s email as an “update” responsive to his request that “each organization will
add corrections” to a draft list of representatives from numerous organizations. See
https://www.oprm.va.gov/docs/foia/DSTBCSto62218Redacted.PDF

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because “although EPA was informed about the progress of [a group’s] discussions and even

attended certain meetings, Plaintiffs have not established that EPA ever managed or controlled the

timing, agenda, etc., of the discussions”); Sofamor Danek Grp., 61 F.3d at 936 (holding that panel

was not utilized by an agency, notwithstanding fact that agency used its work product, because the

agency did not “establish[], manage[], or control[]” the panel); Judicial Watch, 736 F. Supp. 2d at

34-35 (allegations that a group “provide[d] policy recommendations to the defendants” were

insufficient to state a claim under FACA because they demonstrated only that the agency

“‘utilize[d]’ the [group] in the familiar, colloquial sense” of that term, rather than managed or

controlled the committee “within the meaning of the FACA” (emphasis added)). Nor is an

allegation that the Department utilized the work product of one or more of the Three Individuals,

FAC ¶ 39, the same as alleging that it utilized those individuals as a committee under FACA.

Indeed, the D.C. Circuit and the Supreme Court have long “rejected the very claim that the

plaintiffs are advancing here: that the FACA is triggered by an agency’s mere use of a private

group to obtain advice.” Huron, 917 F. Supp. at 41 (citing Public Citizen, 491 U.S. at 457-58 and

Wash. Legal Foundation, 17 F.3d at 1450-51).

       The allegations in the FAC are not only inadequate to meet VoteVets’ pleading burden on

this point; they refute it. Far from alleging that the Department managed or controlled the Three

Individuals, the FAC asserts that the Three Individuals asserted influence over the Department.

See FAC ¶¶ 39-40 (alleging that the Three Individuals “‘bombarded VA officials with demands,’”

“‘prodded’” them to start new programs, and “exert[ed] sweeping influence on the VA”); see also

id. ¶ 49 (alleging that Dr. Moskowitz, not the VA, chose areas of focus for a planning call regarding

development of a mobile app); Ex. A at 2 (stating that then-Chief of Staff Peter O’Rourke treated

an email from Dr. Moskowitz “as an order”). Because these allegations are fundamentally



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inconsistent with any suggestion that the Three Individuals were “amenable to the strict

management by agency officials,” Public Citizen, 491 U.S. at 457-58, VoteVets has not plausibly

alleged that the Department “utilized” the Three Individuals within the meaning of FACA.

                                      *        *        *      *

       At bottom, VoteVets’ claims boil down to its assertion that the “Council has broad license

to provide advice . . . on all manner of issues affecting” the Department and that “Defendants have

utilized such advice and recommendations.” FAC ¶ 39. But as courts have repeatedly held, the

“fact that a federal agency obtains information or advice from a committee, formally or informally,

does not automatically classify the committee as a federal advisory committee subject to FACA

regulations, nor does it indicate that the agency ‘utilizes’ the committee.” Wash. Toxics Coalition,

357 F. Supp. 2d at 1273 (citation omitted). Thus, simply pairing allegations that the Three

Individuals offered advice to and exerted influence over the Department with the conclusory

allegation that the Department “established” or “utilized” the group does not make out a FACA

claim. Rather, VoteVets must demonstrate that the Department itself formed the Three Individuals

into a committee designed to reach consensus and render policy recommendations as a group or

that the Department managed or controlled the Three Individuals as a group. The allegations in

the FAC do not come close to plausibly alleging such a claim.

       VoteVets’ failure to satisfy its pleading burden is particularly glaring in light of the fact that

VoteVets has access to nearly a thousand pages of documents pertaining to the role of the Three

Individuals that were produced by the Department in response to FOIA requests, as well as

information contained in the ProPublica Article alleged to have been taken from “interviews with

former administration officials[.]” Ex. A at 2 and FAC n.8 & n.17. In some situations, where facts

are peculiarly within the possession and control of the defendant,” Arista Records LLC v. Doe, 604



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F.3d 110, 120 (2d Cir. 2010), pleading on “information and belief” may be sufficient. But where,

as here, a plaintiff already has access to the relevant facts, such allegations, which are insufficient

in any event, should be ignored for purposes of Rule 12. See, e.g., United States ex rel. Conteh v.

IKON Office Sols., Inc., 103 F. Supp. 3d 59, 66 (D.D.C. 2015) (pleading on information and belief

is only permissible “when the information needed to make factual allegations is ‘peculiarly within

the knowledge of the opposing party’” and the plaintiff “make[s] ‘an allegation that the necessary

information lies within the defendant’s control” (citing Kowal v. MCI Commc’ns Corp., 16 F.3d

1271, 1279 n.3 (D.C. Cir. 1994)). Given VoteVets’ access to voluminous records pertaining to its

claims and its 46-page FAC, the absence of any specific factual allegations supporting its theory

that the Three Individuals constituted a FACA committee requires dismissal of the case for failure

to state a violation of FACA.

                                          CONCLUSION

       For the foregoing reasons, the Department respectfully requests that the FAC be dismissed.


Dated: December 20, 2018                       Respectfully submitted,

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